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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

LANICE K. GLOVER,

        Plaintiff,                             CASE NO.: 8:17-cv-00732-RAL-TBM

v.

HOMEGOODS, INC.,

      Defendant.
_________________________/

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff, LANICE K. GLOVER, and Defendant, HOMEGOODS, INC. (collectively

referred to herein as “Parties”), by and through their undersigned counsel, hereby stipulate to the

dismissal of the above-captioned action, with prejudice, with each party to bear its own attorneys’

fees and costs.

        Dated: December 12, 2017.            Respectfully Submitted,


By: /s/ Frank M. Malatesta                        By: /s/ Elaine W. Keyser
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                                                  Counsel for Defendant
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 12th day of December, 2017, I electronically filed

the foregoing document via the Court’s CM/ECF system, which will send a Notice of Electronic

Filing to all counsel of record.



                                                 /s/ Elaine W. Keyser
                                                 Elaine W. Keyser, Esq.




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